Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 1 of 34

County

 

Department of Finance
Susan Durham - Director of Finance Kent County
Mary Karo! - Assistant Director Administrative Complex
555 Bay Road
- Dover, DE 19901
| December 18, 2014 (382) 7 44-2386 .
Fax: (302) 736-2270
John H. Symons John H, Symons
161 Mayor Lane / 5840 Heronrise Crescent Drive
Felton, DE 19943 ~ Lithia, FL 33547-5883
RE; Sewer Account #8810-@§§PHidden Pond Lot 61 ‘

Dear Mr. Symons:

This letter is to inform you that our office received your bankruptcy papers from the
court, The attached claim was sent to the Bankruptcy Court. The amount due of $562.60
is through December 10, 2014. This leaves $0.00 due on account #8810-21099.

The amount of $562.60 was transferred to bankruptcy account #10388-21099. Whatever
is not paid by the bankruptcy court will be transferred back to your original
account and become your responsibility.

Even though you have filed bankruptcy, you are still responsible for any future
sewer bills on account 8810-21099.

You will receive a separate sewer bill for the bankruptcy account. This bill is for your
information and is the amount the bankruptcy court should pay. If your bankruptcy is
dismissed for any reason, this amount will go back to your original sewer account.

If you have any questions, please contact me at 302-744-2381.

Sincerely,

   

Enc.

“Serving Kent County With Pride”

EXHIBIT "A”
  
 

‘ Case 8:14-bk-143
Nancy L. Cavey
Attomey at Law. -

#

Tou aia lShilpdpai2s/16 Page 2 of 34
BRRRRDPTEY Phone: 727.258.4999
Fax: 727.289.7035

821 16" Street N., Suite A, St. Petersburg, FL 33705

 

December 31, 2014

VIA.U.S. MAIL AND FACSIMILE AT (302) 736-2270

 

Kent County - Department of Finance
ATTN: Lori A. Caloway, Accountant

Administrative Complex
555 Bay Road
Dover, DE 19901
RE: My Client: John H. Symons, Bankruptcy Case No. 8:14-bk-14330-CED
Your Reference: Sewer Account #8810-QERRP: Hidden Pond Lot 61
Creditor: Kent County — Sewer Operations

IMMEDIATELY CEASE AND DESIST COMMUNICATIONS
To The Above:

This law firm and the undersigned attorney represent JOHN H. SYMONS with respect to the above account and
bankruptcy case.

This letter serves as your organization’s only written notice to immediately cease and desist all contact
with my client, John H. Symons, with respect to the willful violation of the bankruptcy automatic stay with
regard to the collection or attempted collection of any debt, and pursuant to the Federal Fair Debt Collection
Practices Act, 15 U.S.C. §§ 1692(b)(6) and 1692(c)(b), et seq. Additionally, §§ 362 and 1301 of the United
States Bankruptcy Code requires all collection efforts to cease immediately upon the filing of a voluntary or
involuntary bankruptcy petition.

Failure to comply will result in sanctions being filed against you and the above named creditor in the United
States Bankruptcy Court.

Attached please find a copy of your most recent correspondence to my client, a copy of the Notice of Chapter 13
Bankruptcy Case, Meeting of Creditors & Deadline, and a copy of the Objection to Proof of Claim No. 3 filed
by the Kent County Treasurer.

If you are represented by counsel, please forward this correspondence to them. Thank you for your professional
courtesies and contact our office if you have any questions.

PLEASE GOVERN YOURSELVES ACCORDINGLY.

Yours very truly,

oe

Nanos. Cavey
Attorney
Me

NLCicd
Enc,
cc: John H. Symons

 

www. SunshineStateBankrupicy.com Bankruptcy Information Line: 1.877.352.8192

EXHIBIT "B"
 

Case 8:14-bk-143 RoC 1d Filed 04/23/16 Page 3 of 34
unshineState 5
BANKRUPTCY"
Nancy L. Cavey Phone: 727.258.4999
Attorney at Law Fax: 727.289.7035

821 16" Street N., Suite A, St. Petersburg, FL 33705

 

FAX COVER SHEET

DATE: January 6, 2015
TO: Kent County - Dept of Finance FAX NUMBER: 302-736-2270

ATIN: Lori A. Calloway, Accountant
FROM: Cindy Dauck, Paralegal

NUMBER OF PAGES (including cover sheet): 13

RE: JohnH. Symons, BK Case No. 8:14-bk-14330-CED
Your Reference: Sewer Account #88 10-Q@B; Hidden Pond Lot 61
Creditor: Kent County - Sewer Operations

 

COMMENTS:

Accompanying is correspondence and copies regarding your letter to our client of December 18,
2014.

PLEASE GOVERN YOURSELVES ACCORDINGLY.

 

IF YOU DO NOT RECEIVE ALL THE INFORMATION, PLEASE CONTACT THIS NUMBER: (727) 258.4999

 

THE INFORMATION CONTAINED IN THIS FACSIMILE MESSAGE IS ATTORNEY PRIVILEGED AND
CONFIDENTIAL INFORMATION INTENDED ONLY FOR THE INDIVIDUAL OR ENTITY NAMED ABOVE. IF THE
READER OF THIS MESSAGE !S NOT THE INTENDED RECIPIENT OR AGENT RESPONSIBLE TO DELIVER IT TO
THE INTENDED RECIPIENT, YOU ARE HEREBY NOTIFIED THAT THE ANY DISSEMINATION, DISTRIBUTION OR
COPYING OF THIS COMMUNICATION JS STRICTLY PROHIBITED. IF YOU HAVE RECEIVED THIS
COMMUNICATION IN ERROR, PLEASE IMMEDIATELY NOTIFY US COLLECT BY TELEPHONE AND RETURN THE
ORIGINAL MESSAGE TO US AT THE BELOW ADDRESS VIA U.S. POSTAL SERVICE,

THANK YOU

 

 

 

 

www. SunshineStateBankruptcy.com Bankruptcy Information Line: 1.877.352.8192
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 4 of 34

MEMORY TRANSMISSION REPORT

a

FILE
DATE
TO

° TIME :04-06-2015 11:36
FAX NO.1 :
NAME :

NO, : 017
: 01.06 11:30
:@ 13027362270

DOCUMENT PAGES : 13

START TIME
END TIME
PAGES SENT
STATUS

 

***SUCCESSFUL TX NOTICE***

Re BANRRUP ICY”

Wancy L.. Cavey Phone: 727.253.4999

Attorney at Law Fax: 727.239.7035

821 16 Sereet N., Suite A, St. Petersburg, FL 23°705

 

Fax COVER SHEET

DATE: January 6, 2015
TO: Eent County - Dept of Finance FAX NUMBER: 202-736-2270

ATEN: Lori A. Calloway, Accountant
FROM: Cindy Dauck, Paralegal

NUMBER. OF PAGES Cincluding cover sheet}: 13

 

RE: John H, Symons, BE Case No. $:14-BbkK-1 4330-CED
Your Reference: Sewer Account #881 0-999, Hidden Pond Lot 61
Creclitor: Kent County - Sewer Operations

COMMENTS: ~

Accompanying is correspondence and copies regarding your letter to owr client of December 15,
2014,

PLEASE GOVERN YOURSELVES ACCORDINGLY.

 

IF YOU PONOT RECEIVE ALL THE TNFORMA TION. PLEASE CONTACT THIS NUMBER: (727) 258.4999

 

THE INFORMATION CONTAINED IN THIS FACSIMILE MESSAGE IS ATTORNEY PRIVILEGED AND
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ORIGINAL MESSAGE TO US AT THE BRLOW ADDRESS VIO U5. POSTAL SERVICE.

THANK YOU

 

 

 

wwe. SunshineStateBankruptey-com CBankruptey Information Line: 1.377.352.5192
Case Bilt bud APO: REWER Urb eario fled AGRA ERL vRUE 5 of 34

KENT COUNTY TREASURER, P.0.BOX 1175, DOVER, DELAWARE 19903
(302) 744-2391

NOTE CHANGE OF ADDRESS HERE: ACCOUNT NUMBER: 8810 Seni
**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

4/30/15

SYMONS, JOHN H. 169.28
& SYMONS, MICHELE R.
161 MAYOR LANE
FELTON, DE 19943

 

 

_ MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER —
efi ASE ‘DETAGH TOP. PORTION: AND RETURN WITH PAYMENT. ~

KENT COUNTY - SEWER OPERATIONS - QUARTERLY BILL

KENT COUNTY TREASURER, P.0.BOX 1175, DOVER, DELAWARE 19903 (302). 744-: 2331

OFFICE HOURS
“8:00 A.M - 5:00 P.M, MON - FRI

 

 

 

INSTRUCTION :
1) IF PAYING IN: PERSON, PLEASE BRING BOTH PARTS GETHIS STATEMENT TO OUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 19901.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.
3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.
4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

 

M ake check payable tor KENT COUNTY TREASURER

 

 

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fi you took possession of your home during the current billing period, the ‘amourit due should
faive beén collected at settlement. Please & eontact your ‘settlement attorney / regarding the status
of the payment. : “A . - bead

 

*°°TO NAK “ONLINE SEWER PAVMENT WITH MASTERCARD, VISA, DISCOVER CARD
ORBY E-CHEGK PLEASE GO TO OUR WEBSITE AT WWW.CO.KENT.DE.US OR CALL
1-888-877-0450%** ***PROCESSING FEES APPLY*#*

Fast due balances ara due immediately to avoid further penalty. Payments received after
March 10, 2016 are not reflected on this bill. Please note account number when making payment.

Help Kent County keep sewer rates affordable by reading the important maintenance ARREARS 85.89
tips on the back of this invoice.

Total Due: 169.28

 

 

 

 

 

1. TERMS NET 30 DAYS. A CHARGE OF 1 1/2%
PER MONTH WiLL BE PLACED ON ALL OVERDUE BILLS.

 

 

 

 

 

 

 

 

 

 

CODE EXPLANATION
<r 2. ALL INQUIRIES CALL:
Wii .
S Sewer Fees - BILLING - KENT GOUNTY SEWER.ACCOUNTING - 744-2391
CT: Cofitract User Fess OTHER - KENT COUNTY ENGINEER - 744-2430
HL; Hatiler Fees a IN CASE OF EMERGENCY - 335-6000
LM: Lima Fees. 3. OFFICE HOURS:
OF: Other Charges . 8:00 AM TO 5:00 PM MON - FRI
- 4. REMITTANCE TO:
: Pr Tt .
PN et KENT COUNTY TREASURER

 

P.O. BOX 1178
DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "C"
Case 8:14-bk-14330-RCT Doc.47-1 Filed 04/23/16 Page 6 of 34

Dear Kent County Sewer Customer, -

You can help keep your sewer rates from increaging by following a few simple common sense
préventative maintenance steps. Recently the sewer maintenance staff has experienced
significant ineréase in pipeline and pump station blockages. These blockages are caused by
improper disposal of items that should never be flushed. a

 

As @ sewer customer you play ah important role in keeping the sewer pipeline, on_and off your
property, blockage free by disposing of the following items in the trash:

 

 

 

 

 

 

Bz by wipes | Paper towels
Sanitary napkins Disposable diapers
Switter clothi pads © Cat litter

     
  

il arid grease ‘Should not be disposed of in the kitchen sink. It builds up on the
wer pipes even if flushed with hot water and over time will clog the system. ,
‘be disposed of in the trash can too. ~

   

        

 

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Kent-County_ Department of Public-Works appreciates your.cooper:

affordable. Please call the Départmnént at 302-744-2430 with an
Case Rei Poedtts R StweA GrkEnATIGNS? CHARTERLY BAe 7 Of 34

KENT COUNTY TREASURER, P.0.B0X 7175, DOVER, DELAWARE 19903
(302) 744-2391

NOTE CHANGE OF ADDRESS HERE: ACGOUNT NUMBER: 10338 awe
**P_LEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

 

 

4/30/15
SYMONS, JOHN H
3 161 MAYOR LANE
* FELTON, DE 19943

MAKE CHECK PAYABLETO: KENT COUNTY TREASURER
PLEASE DETACH TOP FORTION AND RETURN WITH PAYMENT

KENT COUNTY - SEWER OPERATIONS - QUARTERLY BILL |
KENT COUNTY TREASURER, F.O.B0X1175, DOVER, DELAWARE 19903 (302) 744-2487

OFFICE HOURS
-8:00 A.M - 5:00 P.M. MON - FRI

 

INSTRUCTIONS:

1) IF PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO OUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 79801.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.

3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

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H you took possession of your home during the current billing period, the amount due should
rave been collected at settlement. Please contact your settlament attorney regarding the status
of the payment.

***TO MAKE ONLINE SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER GARD
ORBY £-CHECK PLEASE GO 70 OUR WEBSITE AT WWW.CO.KENT.DE.US OR CALL
4-888-877-0450"** **5PROCESSING FEES APPLY***

Fast due balances are due immediately to avoid further penalty. Payments received after
March 10, 2015 are not reflected ort this bill. Please note account number when making payment.

Help Kent County keep sewer rates affordable by reading the irmportant maintenance ARREARS 479.21
tips on the back of this invoice.

Total Due: 479,21

 

 

 

 

 

. TERMS NET 30 DAYS. A CHARGE OF 1 1/2%

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CODE EXPLANATION BER MONTH WILE BE PLACED ON ALL OVERDUE BILLS.
We —— 2. ALL INQUIFIES CALL:
S Sewer Fees BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
ct: Contract User Fees OTHER « KENT COUNTY ENGINEER - 744-2430
Hi: Hauler Fees IN CASE OF EMERGENCY’ - 348-6000
LM: Lime Fees 3. OFFICE HOURS:
on Other Charges . 8:00 AM TO 6:00 PM MON ~ FRE
4. REMITTANCE TO:
PN: Pi ;
enafty KENT COUNTY TREASURER

 

 

 

 

P.O. BOX 1176
DOVER, DE 18903

Retain This Portion For Your Records

EXHIBIT "D"
Case 8:14-bk-14330-RCT Doc 47-1. Filed 04/23/16 Page 8 of 34

   

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Dear Ként County Sewer Customer, .

You cari hélp kéep your séwer rates from inctéasing by following a few simple common sense
preventative maintenance steps. Recently the sewer maintenance staff has experienced |
significant increase in pipeline and pump station blockagés. These blockages are caused by
improper disposal of items that should never be flushed.

 

As a sewer customer you play_an important role in keeping the sewer pipeline, on and off your
roperty, blockage frée by disposing of the following items in the trash: ,

    
  

 

 
  

     

‘Baby wipes ‘Paper towels
, Sanitary napkins © Disposable diapers,
Swiffer cloth pads Cat litter
ln.addition fats, oil.and grease should not be disposed of in the kitchen sink. It builds up on the
walls of the Sewer pipes e6ven if flushed with hot water and over time will'clog the system.
They ‘should be disposed of in the trash can too.

 

 

 

 

 

 

_. ...Kent.County Department of Public Works. appreciates your cooperation in keeping the sewer rates
affordable. Please call the Department at 302- 30.with any questions or suggestions.

  
 

 

 
~ Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16

Cindy Dauck

From: RBK

Sent: Thursday, April 09, 2015 4:26 PM
To: ‘Cindy Dauck'

Subject: RE: John Henry Symons

Thank you for letting me know. | will instruct them accordingly.
Regards,
Rebecca Kidner

Page 9 of 34

 

From: Cindy Dauck [mailto:cindy 3am
Sent: Thursday, April 09, 2015 1:22 PM

To: 'RBK'

Cc: Que Nancy Cavey (External e-mail); gist,

Subject: John Henry Symons

Good morning Ms. Kidner -

As you may know, upon the filing of a corrected Proof of Claim by Kent County for the
secured sewer bill in Mr. Symons’ case, we withdrew our objections to Proofs of Claim 3-1
and 3-2, and submitted the order disallowing the duplicative claim, #5-1. Copies of the

Notice of Withdrawal and of the Order are attached.

Also attached is a copy of a recent statement received by our client from Kent County

regarding the same sewer bill.

Please be advised that the rendering of same is in violation of the bankruptcy automatic

stay and sanctions could be pursued against Kent County.

Please advise your client accordingly.

Thank You,

Cindy Dauck
Paralegal

 

 

Sunshine State Bankruptcy Law Firm
821 16th Street North, Suite A

St. Petersburg FL 33705
727-258-4999 opt 2

EXHIBIT "E"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 10 of 34

,

Check out our website at: www.sunshinestatebankruptcy.com

This emailis from Sunshine State Bankruptcy Law Firm and is intended solely for the use of the individual(s} to
whom it is addressed. If you believe you received this e-mail in error, please notify the sender immediately,
delete the e-mail from your computer and do not copy or disclose it to anyone else. If you are not an existing
client of ours, do ne construe anything in this e-mail to make you a client unless it contains a specific statement
to that effect and do not disclose anything to us in reply that you would expect us to hold in confidence. if you
properly received this e-mail as a client, co-counsel or retained expert of ours, you should maintain its contents
in confidence to preserve the attorney-client or work privilege that may be available to protect confidentially.
Case 8:14-bk-14330-RCT Doc 47-1 _ Filed 04/23/16 Page 11 of 34
. . KENT COUNTY - SEWER OPERATIONS - QUARTERLY BILL
“ KENT COUNTY TREASURER, .0.BOX 1175, DOVER, DELAWARE 19903
‘ (302) 744-2391

NOTE CHANGE OF ADDRESS HERE: ACCOUNT NUMBER: 10338 aaaeer
*2PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

    
   

4/30/15

SYMONS, JOHN H 479.21

3 161 MAYOR LANE
FELTON, DE 19943

 

MAKE GHECK PAYABLE TO: KENT COUNTY TREASURER
PLEASE RETACH TOP PORTION AND RETURN WITH PAYMENT

KENT COUNTY - SEWER OPERATIONS - QUARTERLY BILL
KENT COUNTY TREASURER, F.0.B0X1175, DOVER, DELAWARE 19903 $302) 744-2391

OFFICE HOURS
8:00 A.M - 5:00 P.M. MON - FRi

INSTRUCTIONS:

1) IF PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO OUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 79901.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.

3} ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

Make check payable to: KENT COUNTY TREASURER

   

Ne

3/15/15

lf you took possession of your home during the current billing period, the amount due sneuld
Fave been collected at settlement. Please contact your settlement attorney regarding the status
cf the payment.
***TO MAKE ONLINE SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER CARD
ORBY E-CHECK PLEASE GO TO OUR WEBSITE AT WWW.CO.KENT.DE.US OR CALL
1-888-377-0456*** ***PROCESSING FEES APPLY***

Fast due balances are due immediately to avold further penalty. Payments received after
March 10, 2015 are not reflected on this bill. Please note account number when making payment.

Help Kent County keap sewer rates affordable by reading the important maintenance ARREARS 479.21
tips on the back of this Invoice.

Total Due: 479.21

 

 

 

 

 

1, TERMS NET 30 DAYS. A CHARGE OF 1 1/2%

 

 

 

 

 

 

 

 

 

 

 

CODE EXPLANAGION PER MONTH WILL BE PLACED ON ALL OVERDUE BILLS.
; 2. ALL INQUIRIES CALL:
SW! Sewer Fees BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
ct: Contract User Faes OTHER - KENT COUNTY ENGINEER - 744-2430
HL: Hauler Feos IN CASE OF EMERGENCY - 335-8000
LM: Lime Fees 3. OFFICE HOURS:
or Other Charges . 8:00 AM TO 6:00 PM MON - FRI
a 4, REMITTANCE TO:
PN: Panalty KENT COUNTY TREASURER
P.O. BOX 1175

DOVER, DE 19903

Retain This Portion For Your Records
_ Case 8:14-bk-14330-RCT Doc 47-1. Filed 04/23/16 Page 12 of 34

   

Dear Kant County Sewer Customer, -

You can help keep your séwer rates from incréasing by following a few simple common sense
preventative maintenance Steps. Recently the sewer maintenance staff has experienced
significant.increase in pipeline and pump station blockages. These blockages are caused by

improper disposal of iterns that should never be flushed.

 

As @ sewer Customer you play an important role in keeping the sewer pipeline, on and off your
property, blockage free by disposing of the following items in the trash:

 

 

 

 

‘Baby wipes Paper towels
Sanitary napkins Disposable diapers
Swiffer cloth pads Cat litter

  

In ‘addition. fats; < iil and grease should not be disposed of in the kitchen sink. {t.builds up_on the
Walls of the Sewer pipes even if flushed with hot water and over time will clog the system.
They should be disposed of in the trash can too. —

 

—_ _ Kent.County. Department of Public Works appreciates your cooperation in keeping the sewer rates
affordable. Please call the Departménit at 302-744-2430 with any questions or suggestions.

ER go hn ry
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 13 of 34

 

Department of Finance

Susan Durham « Director of Finance Kent County Administrative Complex
Mary Karol - Assistant Director 555 Bay Road

Dover, DE 199081

(302) 744-2386

Fax: (302) 736-2270

June 17, 2015
Dear Sewer Customer:

Enclosed you will find a corrected bill for your second quarter Kent County sewer services. You may have already
received a bill, as our billing vendor sent out bills on June 15, 2015. However, that bill contained incorrect
information regarding service dates (1-1-14 to 3-31-14); due date (April 30, 2014); and balances due. Basically, the
first bill you recelved after June 15, 2015 was a copy of the quarterly bill sent in March 2014. We therefore ask
that you please disregard the first bill due to these errors,

Your corrected bill is enclosed and you will notice that the correct service dates for the second quarter of 2015
are April 1, 2015 to June 30, 2015. The due date for this bill is July 31, 2015.

We apologize for any inconvenience or confusion this may have caused and will take the required steps necessary
to avoid an error of this nature in the future.

i anne Patent in-advanee-for-yeur-cooperation,-Shetwd-yau-have-any-questions, please -fael-frae-to contact-our-seawer——---~---
billing section at (302) 744-2391,
Sincerely,

Kent County Department of Finance
Sewer Billing

EXHIBIT "F"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16
KENT COUNTY - SEWER OPERATIONS - QUARTE

KENT COUNTY TREASURER, f.0.80X 1175, DOVER, DELAWARE 19903

(302) 744-2391

NOTE CHANGE OF ADDRESS HERE: ACCOUNT NUMBER: 8810 aay
** PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS **

 

 

 

SYMONS, JOHN H.

- & SYMONS, MICHELE R.
161 MAYOR LANE
FELTON, DE 19943

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER

- is —PLEASE: E DETAGH, TOP PORTION: AND RETURN WITH. PAYMENT ~

ET

 

ERLY Biee 14 of 34

 

KENT COUNTY - SEWER OPERATIONS - “QUARTERLY BILL

KENT COUNTY TREASURER, P.O. BOX 1176, DOVER; DELAWARE 19903 .

OFFICE HOURS
“8:00 A.M - 5:00 P.M, MON - FRI

 
  
  
 

INSTRUGTIONS: .

RE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.
, BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 78901,

Make check payable to: KENT ‘COUNTY TREASURER

 

li you took possession of your hore. duririg the current billing period, the amount due shduld ©
fave béeii collected at settlement. F Plea lernent attorney ri regarding 4 the, status
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(302). 744-2491

7/34/15

258.92

 

RSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO OUR OFFICE IN DOVER AT B55 BAY ROAD DOVER DE 19901,
VE A SEWER BILL DOES NOT RELIEVE THE PROPERTY GWNER OF HIS ‘OBLIGATION.

 

 

 

 

ORBY E-CHECK. PLEASE GO TO OUR WEBSITE. AT WWW.CO.KENT.DE.US OR CALL
1-688-877-0450%** ***PROCESSING FEES APPLY**#

Past due balances are due immediately to avoid further penalty. Payments received after
June 9, 2015 aré not reflected on this bill. Pigage fidte account number when aking payment.

Help Kent County keep sewer rates affordable by réading the important mairiteriance
tps on the back of this invoice.

 

EWER PAYMENT wre MASTERCARD, VISA. DISCOVER GARD

 

ARREARS

Total Bue:

175.53

258.92

 

 

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TERMS NET 30 DAYS. A CHARGE OF 1 1/2%

EXPLANATION BER MONTH WILL BE PLACED ON ALL OVERDUE BILLS.

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2. ALL INQUIRIES GALL:
BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
OTHER - KENT COUNTY ENGINEER - 744-2430
IN CASE OF EMERGENCY - 335-6000

. OFFICE HOURS:
8:00. AM TO 5:00 PM MON - FRI

4, REMITTANCE TO:

KENT COUNTY TREASURER

P.O, BOX 1175
DOVER, BE 19903

Retain This Portidh For Your Records

 
Case 8:14-bk-14330-RCT _ Doc 47-1 — Filed 04/23/16 | Page 15 of 34" '

   

Dear Kent County Sewer Customer, -

You can help keep your sewer rates from increasing by following a few simple common sense
preventative maintenance steps. Recently the sewer maintenance staff has experienced
significant iIncreasé in pipeline and pump station blockages. These blockages are caused by
improper disposal of items that should never be flushed.

As a sewer customer you play an important role in keeping the sewer pipeline, on and off your
property, blockage free by disposing of the following items in the trash:

 

Baby wipes _ Paper towels
Sanitary napkins Disposable diapers
Swiffer cloth pads Cat litter

In addition fats,.oil and grease should not be disposed of in.thée kitchén sink. It builds up on the
walls of the séwer pipes eyen if flushed with hot water and over time will clog the system.
They should bé disposed of in the trash can too.

    

 

 

Kant. County Department of Public Works appreciates your cooperation in keeping the sewer rates.
affordable. Please call the Department at 302-744-2430 with any questions or suggestions.
  

3hl6 Page 16 of 34

         

 

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Casein CoGAd30-RGEWERCOPERA TIONS QU AHFERLY 802.17 of 34

KENT COUNTY TREASURER, P.0.BOX 1175, DOVER, DELAWARE 19903
(302) 744-2391

NGTE CHANGE OF ADDRESS HERE: ACCOUNT NUMBER: 8810 aa
**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

10/31/15

SYMONS, JOHN H.

& SYMONS, MICHELE R.
6840 HERONRISE CRESCENT DR
LITHIA, FL 33547

 

 

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER
--_-PLEASE-DETACH-TOP-PORTION AND RETURN WITH-PAYMENT: ------

 

KENT COUNTY - SEWER OPERATIONS - QUARTERLY BILL

KENT COUNTY TREASURER. P.0.80X 1175, DOVER, DELAWARE 19903 (302) 744-2391

OFFICE HOURS
-8:00 A.M - 5:00 P.M. MON - FRI

INSTRUCTIONS:

1) IF PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO OUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 199801.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER.OF HIS OBLIGATION.

3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD OOVER DE 19901.

Make check payable to: KENT COUNTY TREASURER

2

 

H you teok possession of your home during the current billing period, the amount due should
have been collected at settlement. Please contact your settlement attorney regarding the status
of the payment.

 

 

*#*TO MAKE ONLINE SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER CARD
OR BY E-CHECK PLEASE GO TO OUR WEBSITE AT WWW.CO.KENT.DE.US OR CALL
1-888-877-0450*** ***PROCESSING FEES APPLY***

Fast due balances are due immediately to avoid further penalty. Payments received after
September 8, 2016 are not reflected on this bill. Please nota account number when makirig
payment.

Help Kent County keep sewer rates affordable by reading the important maintenance ARREARS 268.92
tips on the back of this invoice.

Total Due: 352.31

 

 

 

 

 

. TERMS NET 30 DAYS. A CHARGE OF 7 1/2%

os

 

 

 

 

 

 

 

 

 

 

 

CODE EXPLANATION PER MONTH WILL BE PLACED ON ALL OVERDUE BILLS.
SW: Sewer F 2. ALL INQUIRIES CALL:
; —— BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
CT: Contract User Fees OTHER - KENT COUNTY ENGINEER - 744-2430
HL: Hauler Fees IN CASE OF EMERGENCY - 335-8000
LM: Lima Fees 3. OFFICE HOURS:
OT: Other Charges , 8:00 4M TO 5:00 FM MON - FRI
PN: Penalty 4, REMITTANCE TO:
KENT COUNTY TREASURER
P.O. BOX 1175

DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "G"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 18 of 34

Dear Kent County Sewer Customer,

You can help keep your sewer rates from increasing by following a few simple common sense
preventative maintenance steps. Recently the sewer maintenance staff has experienced
significant increase in pipeline and pump station blockages. These blockages are caused by
improper disposal of items that should never be flushed.

As a sewer customer you play an important role in keeping the sewer pipeline, on and off your
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Baby wipes Paper towels
Sanitary napkins Disposable diapers
Swiffer cloth pads Cat litter

In addition fats, oil and grease should not be disposed of in the kitchen sink. It builds up on the
walls of the sewer pipes even if fiushed with hot water and over time will clog the system.
They should be disposed of in the trash can too.

     

Kent County Department of Public Works appreciates your cooperation in keeping the sewer rates
atiordable. Please call the Department at 302-744-2430 with any questions or suggestions.
Casent CGORTH -RSEWERGPERATIONS? QUARTERLY BAe 19 Of 34

KENT COUNTY TREASURER, P.O.BOX1175, DOVER, DELAWARE 19903
(302) 744-2391

NOTE CHANGE OF ADDRESS HERE: ACCOUNT NUMBER: 10338 @eeer
**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

10/31/15

SYMONS, JOHN H 479.21

5840 HERONRISE CRESCENT DR.
LITHIA, FL 33547

 

 

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER
-_ PLEASE. DETACH TOP-PORTION-AND RETURN WITH PAYMENT

KENT COUNTY - SEWER OPERATIONS - QUARTERLY BILL |
KENT COUNTY TREASURER, P.G.BOX 1176, DOVER, DELAWARE 19903 [302) 744-2391
OFFICE HOURS
-8:00 A.M - 5:00 P.M. MON - FRI

INSTRUCTIONS:

1) IF PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO OUR OFFICE IN DOVER-AT 555 BAY ROAD DOVER DE 19801.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.

3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

Make check payable to: KENT COUNTY TREASURER

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| oot 7i01/15 9/30/15 9/15/15 10/81/15

 

If you took possession of your hame during the current billing period, the amount due should
have been collected at settlement. Please contact your settlement attorney regarding the status
of the payment.

 

 

**=TO MAKE ONLINE SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER CARO
OR BY E-CHECK PLEASE GO TO OUR WEBSITE AT WWW.CO.KENT.DE.US OR CALL
1-888-877-0450*** ***PROCESSING FEES APPLY***

Past due balances are due immediately to avoid further penalty. Payments received after
Saptember 8, 2015 are not reflected on this bill. Please note account number when making
payment.

Help Kent County keep sewer rates affordable by reading the important maintenance ARREARS 479.21
tips on the back of this invoice.

Total Due: 479.21

 

 

 

 

 

. FERMS NET 30 DAYS. A CHARGE OF f 1/2%

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CODE EXPLANATION PER MONTH WILL BE PLACED ON ALL OVERDUE BILLS,
EW. 5 2. ALL INQUIRIES CALL:
7 : “ Fees BILLING - KENT CGUNTY SEWER ACCOUNTING - 744-2391
oT: Contract User Fess OTHER - KENT COUNTY ENGINEER - 744-2430
HE: Hauler Fees IN CASE OF EMERGENCY - 325-6000
LM: Lime Fees 3. OFFICE HOURS:
OT: Other Charges . 8:00 AM TO 6:00 PM MON - FRI
PN: Panalty 4. REMITTANCE TO:
KENT COUNTY TREASURER
P.O. BOX 1775

DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "H"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 20 of 34

Dear Kent County Sewer Customer,

You can help keep your sewer rates from increasing by following a few simple common sense
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Swiffer cloth pads Cat litter

     

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They should be disposed of in the trash can too.

      

Kent County Department of Public Works appreciates your cooperation in keeping the sewer rates
aflordable. Please call the Department at 302-744-2430 with any questions or suggestions.
Casetiit Co Ghgs0-R GEWHEROGPERATIONGC QUARTERLY MG.21 Of 34

KENT COUNTY TREASURER, P.0.BOX 1175, DOVER, DELAWARE 19903
(302) 744-2391

NOTE CHANGE OF ADDRESS HERE: ACGOUNT NUMEER: 8810 Gaee
**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

1/31/16

SYMONS, JOHN H.

& SYMONS, MICHELE R.
5840 HERONRISE CRESCENT DR
LITHIA, FL 33547

 

 

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER
PLEASE DETACH TOP PORTION AND RETURN WITH PAYMENT

 

 

 

KENT COUNTY - SEWER OPERATIONS - “QUARTERLY BILL

KENT COUNTY TREASURER, #.0.86X 1175, DOVER, DELAWARE 19903 {302} 744-2391

OFFICE HOURS
“8:00 A.M - 5:00 P.M. MON - FRI

INSTRUCTIONS:
\ 1) IF PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO OUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 19901.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.
3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.
4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

Make check payable to: KENT COUNTY TREASURER

 

Hyou took possession of your home during the current billing period, the amount due should
have been-collected at settlement. Please contact your settlamant attorney regarding the status

oF the payment.

 

 

***TO MAKE ONLINE SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER CARD
ORBY E-CHECK PLEASE GO TO OUR WEBSITE AT WWW.CO.KENT.DE.US OR CALL
1-888-877-0450*** ***PROCESSING FEES APPLY***

Past due balances are due immediately to avoid further penalty. Payments received after
December 8, 2015 are not reflected on this bill. Please note account number when making

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

payment,
Help Kent County keep sewer rates affordable by reading the important maintenance ARREARS 366.06
‘tips on the back of this invoice.
Total Due: 83.39
1. TERMS NET 30 DAYS. A CHARGE OF 1 1/2%
CODE EXPLANATION PER MONTH WILL BE PLACED ON ALL OVERDUE BILLS,
SW: Sawer Faos 2. ALL INQUIFIES CALL:
- BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
cr: Contract User Fees OTHER - KENT COUNTY ENGINEER - 744-2420
HL: Hauler Fees IN CASE OF EMERGENCY - 335-6000
LM: Lime Faes 3. OFFICE HOUAS:
oT: Other Charges : 8:00 AM TO 5:00 PM MON - FRI
PN: Penalty 4, REMITTANCE To:
KENT COUNTY TREASURER
P.O, BOX 1175

DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "I"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 22 of 34

Dear Kent County Sewer Customer, _

You can help keep your sewer rates from increasing by following a few simple common sense
preventative maintenance steps. Recently the sewer maintenance staff has experienced
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‘Baby wipes Paper towels
Sanitary napkins Disposable diapers
Swiffer cloth pads Cat litter

 

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walls of the sewer pipes even if flushed_with hot water and over time will clog the system.
They should be disposed of in the trash can too.

 

 

 

 

Kent County Department of Public Works appreciates your cooperation in keeping the sewer rates
affordable. Please call the Department at 302-744-2430 with any questions or suggestions.
Case GEN GO UABB0-R GEWEDDORERATIONSd-QUARTERLP ReL23 of 34
KENT COUNTY TREASURER, P.O. BOX 1175, DOVER, DELAWARE 19903
(302) 744-2301

NOTE CHANGE OF ADDRESS HERE: ACCOUNT NUMBER: 10338 que
**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

W316
SYMONS, JOHN H

5840 HERONRISE CRESCENT DR.
LITHIA, FL 33547

 

 

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER
PLEASE DETACH TOP PORTION AND RETURN WITH PAYMENT ‘

ce cee ge

KENT COUNTY - SEWER OPERATIONS - QUARTERLY BILL

KENT COUNTY TREASURER, P.0,80X 1175, OOVER, DELAWARE 19903 (302) 744-2391

OFFICE HOURS
~8:00 A.M - 5:00 P.M. MON - FRI

 

INSTRUCTIONS: .

1} iF PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO QUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 19901.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.

3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

4 PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

Make check payable to: KENT COUNTY TREASURER

 

lf you took possession of your home during the current billing period, the amount due should
have been collected at settlement, Please contact your settlement attorney regarding the status
of the payment.

**#TO MAKE ONLINE SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER CARD
ORBY E-CHECK PLEASE GO TO OUR WEBSITE AT WWW.CO,KENT.DE.US OR CALL
1-888-877-0450*** ***PROCESSING FEES APPLY***

 

Past due balances are due immediately to avaid further penalty. Payments received after
December ‘8, 2015 are not reflacted on this bill. Please note account number when making
payment,

Help Kent County keep sewer rates affordable by reading the important maintenance ARREARS 479.21
tios on the back of this invoice.

Total Due:

 

 

 

 

 

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. TERMS NET 30 DAYS. A CHARGE OF 1 1/2%

 

 

 

 

 

 

 

CODE EXPLANATION PER MONTH WILL BE PLACED ON ALL OVERDUE BILLS.
= 2. ALL INQUIRIES CALL:

SW: Sewar F é

owe BILLING - KENT GOUNTY SEWER ACCOUNTING - 744-2391
ce Contract User Fees OTHER - KENT COUNTY ENGINEER - 744-2430
HL: Hauler Fees IN CASE OF EMERGENCY - 338-6000
LM: Lime Fees 3. OFFICE HOURS:
OT; Gther Charges B:00 AM TO 5:00 PM MON - FRI
PN: Penalty 4, REMITTANCE TO:

KENT COUNTY TREASURER

 

 

 

 

P.O, BOX 1175
DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "J"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 24 of 34

Dear Kent County Sewer Customer,

You can help keep your sewer rates from increasing by following a few simple common sense
preventative maintenance steps. Recently the sewer maintenance staff has experienced

_ Significant increase in pipeline and pump station blockages. These blockages are caused by
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property, blockage free by disposing of the following items in the trash:

Baby wipes Paper towels
Sanitary napkins Disposable diapers
Swifter cloth pads Cat litter

In.addition fats, oil and grease should not be disposed of in the kitchen sink, It builds up on the
walls: of the sewer pipes even if flushed with hot water and over time will clog the system.
fhey should be disposed of in the trash can too.

 

 

 

 

 

 

 

Kent County Department of Public Works appreciates your cooperation in keeping the sewer rates

affordable. Please call the Department at 302-744-2430 with any questions or suggestions.
Cast BMI4 CokUNIG80- SEWER OPERATION d QUARBTERLYPBIKE 25 of 34

KENT

NOTE CHANGE OF ADDAESS HERE:

COUNTY TREASURER, P.O. BOX 1175,

(202) 744-2391

ACCOUNT NUMBER:

DOVER, DELAWARE 19903

10333 Ghai

**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS* *

 

 

 

SYMONS, JOHN H

5840 HERONRISE CRESCENT DR.
LITHIA, FL 33547

KENT COUNTY -

KENT COUNTY TREASURER,

IWSTRUCTIONS:
1) IF PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO OUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 19901.
2) FAILURE TO RECEIVE 4 SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.

3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

 

of the payment.

payment.

 

4-888-877-0450***

CORRECTED BILL

T3tiNs

 

 

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER
PLEASE DETACH TOP PORTION AND RETURN WITH PAYMENT

‘SEWER OPERATIONS -

P,O.8GX 1175, DOVER, DELAWARE 19963

OFFICE HOURS
8:00 A.M - 5:00 P.M. MON - FRI

Make check payable to:

 

If you took possession of your home during the current billing period, the amount due should
have been collected at settlement. Please contact your settlament attorney regarding the status

#49TO ‘MAKE ONLINE: SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER CARD
OR BY E-CHECK PLEASE GO TO OUR WEBSITE AT WW/W.CO.KENT.DE.US OR CALL
***PROCESSING FEES APPLY***

Past due balances are due immediately to avoid further penalty. Payments received after
December 8, 2015 are not reflected on this bill. Please note account number when making

Help Kent County keep sewer rates affordable by reading the important maintenance
tips on the back of this invoice.

QUARTERLY BILL —

(902) 744-2391

KENT COUNTY TREASURER

ARREARS 479.21

Total Due: 479,21

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CODE EXPLANATION

Sw: Sawer Fees 2
ct: Coritract User Foes

HL: Hauler Fees

iM: Lime Fees 3
oT: Other Chargas

PN; Penalty 4

 

» TERMS NET 30 DAYS. A CHARGE OF 1 1/2%

PER MONTH WILE BE PLACED-ON ALL OVERDUE BILLS.

» ALL INQUIRIES CALL:

BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
OTHER - KENT COUNTY ENGINEER - 744-2430
IN CASE OF EMERGENCY - 335-6000

» OFFICE HOURS:

8:00 AM TO 5:00 PM MON - FAI

. REMITTANCE TO:

KENT COUNTY TREASURER
P.O, BOX 1176
DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "K"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 26 of 34

Dear Kent County Sewer Customer, -

You can help keep your sewer rates from increasing by following a few simple common sense
treventative maintenance steps. Recently the sewer maintenance staff has experienced
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Baby wipes Paper towels
Sanitary napkins Disposable diapers
Swiffer cloth pads Cat litter

 

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Walls of the sewer pipes aven if flushed with hot water and over time will clog the system.
They should be disposed of in the trash can too..

 

bounty Départment-ofPublic-Works-appreciates-your cooperation _in-keeping the-sewer-rates- -

Kent Cou = ;
affordable. Please call the Department at 302-744-2430 with any questions or suggestions.
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 27 of 34

 

Department of Finance

Susan Durham - Director of Finance Kent County Administrative Complex
Mary Karol - Assistant Director 555 Bay Road

Dover, DE 19901

(302) 744-2386

Fax: (302) 736-2270

December 18, 2015

Dear Sewer Customer:

Enclosed you will find a corrected biil for your fourth quarter Kent County sewer services. You may have already
received a bill, as our billing vendor sent out bills on December 15, 2015. However, that bill contained incorrect
information regarding the balance(s) due. If you had a previous/past due balance, the program used failed to add
the amount in arrears to the current quarterly amount due. Basically, the bill you received only shows the
amount due as the quarterly amount for your sewer district and may not reflect the actual amount you owe.
We therefore ask that you please disregard the first bill due te this error.

Your corrected bill is enclosed and we ask that you please pay from this bill.

We apologize for any inconvenience or confusion this may have caused and will take the required steps necessary
to avoid an error of this nature in the future.

Thank you in advance for your cooperation. Should you have any questions, please feel free to contact our sewer
billing section at (302) 744-2391.

Sincerely,

Kent County Department of Finance
Sewer Billing

EXHIBIT "L"
CaseKENT-GRUNTIO-REEWAROPERATIONGd QUARTERLPRIEL28 of 34

KENT COUNTY TREASURER,

NOTE CHANGE OF ADDRESS HERE:

P.O. BOX 1175,
(302) 744-2394

 

 

 

SYMONS, JOHN H.

& SYMONS, MICHELE R.
5840 HERONRISE CRESCENT DR
LITHIA, FL 33547

DOVER, DELAWARE 19903

ACCOUNT NUMBER: 3810 2D
**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

CORRECTED BILL

T/31/16

449.45

 

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER
PLEASE BETACH TOP PORTION AND RETURN WITH PAYMENT

KENT COUNTY TREASURER, P.O. BOX 1175,

INSTRUCTIONS:

1) IF PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO.OUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 19901.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.

3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

 

 

DOVER, DELAWARE 19903

OFFICE HOURS
8:00 A.M - 5:00 P.M. MON - FRI

KENT r COUNTY - SEWER OPERATIONS - . QUARTERLY Y BILL

4302) 744-2391

4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

‘payment.

 

1-888-877-0450***

Make check payable to:

lf you took possession of your home during the current billing period, the amount due should
hava been collected at settlement. Please contact your settlement attorney ragarding the Status
Tot the, ‘payment,

**°TO MAKE: ‘ONLINE SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER CARD
ORBY E-CHECK PLEASE GO TO OUR WEBSITE AT WWW.CO.KENT .DE.US OR CALL
***PROCESSING FEES APPLY***

 

Past due balances are dua immediately to avoid further penalty. Payments received after
December 8, 2015 are not reflected on this bill. Please note account number when making

Help Kent County keep sewer rates affordable by reading the important maintenance ARREARS 366.06
tips on the back of this invoice.

KENT COUNTY TREASURER

 

Total Due: 449.45

 

 

 

 

 

 

 

 

 

 

 

CODE EXPLANATION
Swi Sewer Fees .

CT: Contract User Faes
HL: Hauler Fees

“LM: Lime Fees

OT: Other Charges

PN: Penalty

 

 

 

. TERMS NET 30 DAYS. A CHARGE OF 1 1/2%

PER MONTH WILL BE PLACED ON ALL OVERDUE BILLS.

«ALL INQUIRIES CALL:

BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
OTHER - KENT COUNTY ENGINEER - 744-2430
IN CASE OF EMERGENCY - 335-6000

, OFFICE HOURS:

8:00 AM TO 6:00 PM MCN - FRI

. REMITTANCE TO:

KENT COUNTY TREASURER
P.O, BOX 1176
DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "M"

 

 
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 29 of 34

Dear Kent County Sewer Customer,

You can help keep your sewer rates from increasing by following a few simple common sense
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Baby wipes Paper towels
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Swiffer cloth pads Cat litter

     

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They should be disposed of in the trash can too.

 

 

Kent County Department of Public Works appreciates your cooperation in keeping the sewer rates _
affordable. Please call the Department at 302-744-2430 with any questions or suggestions.
Case SENT MOUAEBO-RGEWER OPERATIONS -CAYRERTERLP RILL3Z0 of 34
KENT COUNTY TREASURER, P.0.BOX 1175, DOVER, DELAWARE 19903
(302) 744-2391

NOTE CHANGE OF ADDRESS HERE; ACCOUNT NUMBER: 8810 ‘Gaiag
**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

4/30/16

SYMONS, JOHN H.

& SYMONS, MICHELE R.
5840 HERONRISE CRESCENT DR
LITHIA, FL 33547

 

 

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER
PLEASE DETACH TOP PORTION AND RETURN WITH PAYMENT

KENT COUNTY TREASURER, P.0.BOX 1175, DOVER. DELAWARE 19903 {302} 744-2391 -

OFFICE HOURS
8:00 A.M - 5:00 P.M. MON - FRI

INSTRUCTIONS:

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2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.

3} ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

4} PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 19901.

Make check payable to: KENT COUNTY TREASURER

AG OUR DATE

Be

ip AVIEE sine ae
1/01/16 3/31/16 4/30/16

 

If you took possession of your home during the current billing period, the amount due should
have been collected at settlement. Please contact your settlement attorney regarding the status
o the payment. . . :

**=T0 MAKE ONLINE SEWER PAYMENT WITH MASTERCARD, VISA, DISCOVER CARD
ORBY E-CHECK PLEASE GO TO OUR WEBSITE AT WWW.CO.KENT.DE.US OR CALL
1-888-877-0450*** ***PROCESSING FEES APPLY***

Past due balances are due immediately to avoid further penalty. Payments received after
Warch 8, 2016 are not reflected on this bill. Please note account number when making
payment.

Help Kent County keep sewer rates affordable by reading the important maintenance ARREARS 466.95
tips on the back of this invoice.

+

 

Total Due: 550.34

 

 

 

 

 

-_

. TERMS NET 30 DAYS. A CHARGE OF 1 1/2%

 

 

 

 

 

 

 

 

 

 

 

CODE EXPLANATION PER MONTH WILL BE PLACED ON ALL OVERDUE BILLS.
- 2. ALL INQUIRIES CAEL:
SW: Sewer Fi
— BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
cT: Contract User Foes OTHER - KENT COUNTY ENGINEER - 744-2430
HL: Hauler Fees IN CASE OF EMERGENCY - 335-6000
LM: Lime Feas 3. OFFICE HOURS:
OT: Other Charges 8:00 AM TO 5:00 PM MON - FRI
PN, Penalty 4, REMITTANCE TO:
KENT COUNTY TREASURER
P.O, BOX 1176

DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "N"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 31 of 34

Dear Kent County Sewer Customer,

You can help keep your sewer rates from increasing by following a few simple common sense
preventative maintenance steps. Recently the sewer maintenance staff has experienced
significant increase in pipeline and pump station blockages. These blockages are caused by
improper disposal of items that should never be flushed.

As a sewer customer you play an important role in keeping the sewer pipeline, on and off your
broperty, blockage free by disposing of the following items in the trash:

 

 

 

 

Baby wipes | Paper towels
Sanitary napkins Disposable diapers
Swiffer cloth pads Cat litter

In addition fats, oil and grease should not be disposed of in the kitchen sink. It builds up on the
walls of the sewer pipes even if flushed with hot water and over time will clog the system.
They should be disposed of in the trash can too.

 

 

 

 

 

Kent County Department of Public Works appreciates your cooperation in keeping the sewer rates
- affordable. Please cafl the Department at 302-744-2430 with any questions or suggestions: ~~
CaseKEW4-BOWAT30-R SEWEBOOPERATIONGd- QUARTERL P B44. 32 of 34
KENT COUNTY TREASURER, P.O. BOX 1175, DOVER, DELAWARE 19903
(302) 744-2391

NOTE GHANGE OF ADDRESS HERE: ACCOUNT NUMBER: 10338 Quay
**PLEASE NOTE ACCOUNT NUMBER WHEN MAKING PAYMENTS**

 

 

 

4/30/16

SYMONS, JOHN H 479.21

5840 HERONRISE CRESCENT DR.
LITHIA, FL 33547

 

 

MAKE CHECK PAYABLE TO: KENT COUNTY TREASURER
PLEASE DETACH TOP PORTION AND RETURN WITH PAYMENT

 

KENT COUNTY - SEWER OPERATIONS - QUARTERLY BILL

KENT COUNTY TREASURER, P.0.BOX 1175, DOVER, DELAWARE 19903 (302) 744-2391

OFFICE HOURS
‘8:00 A.M - 5:00 P.M. MON - FRI

 

INSTRUCTIONS: .

1) IF. PAYING IN PERSON, PLEASE BRING BOTH PARTS OF THIS STATEMENT TO OUR OFFICE IN DOVER AT 555 BAY ROAD DOVER DE 19901.
2) FAILURE TO RECEIVE A SEWER BILL DOES NOT RELIEVE THE PROPERTY OWNER OF HIS OBLIGATION.

3) ALL PAYMENTS ARE DEPOSITED UPON RECEIPT, INCLUDING POST DATED CHECKS.

4) PAYMENT DROP BOX AVAILABLE AFTER HOURS AT 555 BAY ROAD DOVER DE 719901.

Make check payable to: KENT COUNTY TREASURER
OT 61

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Tea ee

3/15/16 4/30/16
re sgersseoete Teen ge

 

If you took possession of your home during the current billing period, the amount due should
have been collected at settlement. Please contact your settlament attorney regarding the status
oF the payment. .

 

TON ON] WER PAYMENT WITH MASTERCARD, VISA, DISCOVER CAI
‘OR BY E-CHECK PLEASE GO TO OUR WEBSITE AT WWW.CO.KENT.DE.US OR CALL
1-888-877-0450*** ***PROCESSING FEES APPLY***

Past due balances are due immediately to avoid further penalty, Payments received after
March 8, 2016 are not reflected on this bill, Please note account number when making
payment. .

Help Kent County keep sewer rates affordable by reading the important maintenance ARREARS 479.21
tias on the back of this invoice.

Total Due: 479.21

 

 

 

 

 

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- TEAMS NET 30 DAYS. A CHARGE OF Tt 1/2%

 

 

 

 

 

 

 

 

 

 

 

CODE EXPLANATION PER MONTH WILL BE PLACED ON ALL OVERDUE BILLS.
- 2. ALL INQUIRIES CALL:
sw: si
-— ower Fees BILLING - KENT COUNTY SEWER ACCOUNTING - 744-2391
ct: Contract User Fees OTHER - KENT COUNTY ENGINEER - 744-2430
HL: Hauler Fees IN CASE OF EMERGENCY - 335-6000
LM: Lime Fees 3. OFFICE HOURS:
OT: | Sther Charges 8:00 AM TO 6:00 PM MON - FRI
= 4. REMITTANCE TO:
PN: ]
Penalty KENT COUNTY TREASURER
P.O. BOX 1176

DOVER, DE 19903

Retain This Portion For Your Records

EXHIBIT "O"
Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 33 of 34

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Case 8:14-bk-14330-RCT Doc 47-1 Filed 04/23/16 Page 34 of 34

B6F (Official Form 6F} (12/07) - Cont.

In re John Henry Symons Case No. __8:14-bk-14330

 

 

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CREDITOR'S NAME, c Husband, Wife, Joint, or Community & N ?
D NJLIS
INCLUDING ZIP CODE i) ]— coRABESEABOVSR NCU? Ge | Lalo
: CONSIDE ION FOR .
AND ACCOUNT NUMBER 6 |: I$ SUBJECT TO SETOFF, SO STATE. Nee | AMOUNT OF CLAIM
(See instructions above.) Rn Io E{D|D
N
Account No, XXXXXXXXXXXx4925 Opened 8/20/06 Last Active 7/19/07 TWTr
Charge Account o
GECRBiSelect Comfort
Atin: Bankruptcy Dept -
Po Box 103104
Roswell, GA 30076
0.00
Account No. XXXXXxXxxxx67 44 Opened 9/19/06 Last Active 1/18/07
former Line Of Credit
HFC/Beneficial Mig Services
Attn: Bankruptcy -
961 Weigel Dr
Elmhurst, IL 60126
0.00
Account No. xxxx0845 Opened 10/01/05 Last Active 6/07/06
former Real Estate Mortgage
Hsbc/MSCPI
Po Box 3425 -
Buffalo, N¥ 14240
0.00
Account No. Qa utility bill for former homestead property
e
kent County Sewer Operations
Kent County Treasurer X\J
PO Box 1175
Dover, DE 19903
461.26
Account No. xxxxxxxxx2400 Opened 3/01/04 Last Active 4/05/05
former Credit Line
Mortgage Service Center
Attn: Bankruptcy Dept -
Po Box 5452
Mit Laurel, NJ 08054
6.00
Sheet no. 3 of 6 sheets attached to Schedule of Subtotal 461.26
Creditors Holding Unsecured Nonpriority Claims (Total of this page) ,

 

 

 

BIT "P"
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